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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


CYNTHIA DONALD,                              )
                                             )
        Plaintiff,                           )
                                             )
                                             )
v.                                           )       Case No. 20 CV 6815
                                             )
THE CITY OF CHICAGO,                         )       Hon. Elaine E. Bucko
A Municipal Corporation; and                 )
EDDIE JOHNSON, individually                  )
and as an agent of                           )
THE CITY OF CHICAGO,                         )       JURY TRIAL DEMANDED
                                             )
        Defendants.                          )

       DEENDANT EDDIE JOHNSON’S ANSWER AND AFFIRMATIVE DEFENSES
       TO PLAINTIFF’S COMPLAINT AT LAW

       Defendant, Eddie Johnson, by and through his undersigned attorneys, Michael I. Leonard

and Rebecca Alexander of Leonard Trial Lawyers LLC, and Gbenga Longe of The Longe Law

Firm, states as follows as his Answer and Affirmative Defenses to Plaintiff’s Complaint:

       INTRODUCTION

       Eddie Johnson served the citizens of Chicago for more than three decades. The former

Superintendent of the Chicago Police Department has worked to uphold justice, protect the

vulnerable, and lead with integrity. By engaging in an inappropriate relationship with Plaintiff

Cynthia Donald, Mr. Johnson fell short of that work. However, this betrayal of their respective

marriages was wholly consensual and mutually sustained.

       The testimony and evidence will verify the nature of their relationship, not only proving

the allegations of Plaintiff’s Complaint to be false, but also revealing Ms. Donald’s motivation

for asserting these false claims. Further, Mr. Johnson will be shown to have neither the

motivation nor the perverse character to engage in the activities described in the Complaint. His


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well-earned reputation as a man with care and concern for others has accompanied the difficult

roles in which he has excelled. He has made tough, unpopular decisions dictated by adherence to

the truth. He has shared his own challenges with mental health so that others might be

encouraged to seek help related to the often dark and inhumane circumstances witnessed by

members of law enforcement.

       Finding both kinship and collaboration in their constant contact through stressful times,

Mr. Johnson and Ms. Donald took the poor, but completely mutual step, of engaging in an

intimate relationship. The parties were friends prior to this mistake and remained so after

discontinuing the inappropriate interaction in or about the Winter of 2018.

       It was at that time that Mr. Johnson suggested to Ms. Donald that she obtain

assistance with her own personal problems, which arose out of various troubling historical events

as well as her marital relationship. Going forward, the parties continued to work together and,

importantly, remained friends. Thus, they continued to text and talk outside of work, and to

socialize - usually with others - from time to time.

       After the highly publicized events in October 2019 that ultimately formed the basis for

Mr. Johnson’s removal from his Chicago Police Superintendent’s position, a public spotlight was

shone on the parties’ relationship. That public scrutiny predictably had consequences for both

parties’ marriages. Nonetheless, even after Mr. Johnson’s ouster, the parties continued to

maintain their friendship. Indeed, the parties’ texts, as well as Ms. Donald’s texts with others,

will demonstrate that Ms. Donald continued to enjoy an amiable friendship with Mr. Johnson for

many, many months.

       Moreover, on some occasions, Ms. Donald directed, or arranged to meet with Mr.

Johnson, at discrete locations because she was, inter alia, concerned that her husband

would find out that she was still interacting and communicating with the Mr. Johnson. At



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one point, Ms. Donald even suggested to Mr. Johnson that they get “burner phones” so

that they could continue to communicate with each other while avoiding scrutiny.

       Furthermore, during this pre-litigation time period, Ms. Donald actually told Mr.

Johnson that she was going to be suing the City of Chicago regarding her employment.

She told him her attorneys had assured her that she would recover millions of dollars –

and that the City would quickly settle with her. In response, Mr. Johnson indicated his

skepticism, but did not do anything to dissuade Ms. Donald from pursuing her purported

claims against the City. However, as the weeks went by, Ms. Donald began to indicate to

Mr. Johnson that her attorneys told her that she might have to say “some things” about

Mr. Johnson in order to obtain her multi-million-dollar settlement. Ms. Donald was cagey

when Mr. Johnson questioned her about what she could possibly say.

       Mr. Johnson also learned, in or about that same time period, that Ms. Donald had

suggested to one of their mutual friends that perhaps he could say some things to support

her case, though they were untrue. He declined. These events caused Mr. Johnson to

determine that Ms. Donald’s motives and intentions were highly suspect.

       As further set forth below, Ms. Donald’s allegations are a fiction, and have clearly

been pled by her with nothing more than economic motives in mind.

       ANSWER

           1. For more than three years, Plaintiff, a police officer in the Chicago Police Department

(“CPD”), was subjected to unwanted and uninvited sexual advances, abuse, harassment, and a

hostile work environment by her superior and supervisor, former CPD Superintendent Eddie

Johnson (“Superintendent Johnson”).

       ANSWER:        Denied. Defendant further states that these allegations are patently false and

intentionally manufactured.



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           2. At all times relevant to this complaint, Superintendent Johnson was the highest-

ranking member of the CPD.

       ANSWER:         Admitted, with respect to certain relevant time periods, and denied with

regard to respect to certain other relevant other time periods.

          3.    Superintendent Johnson, while serving as Plaintiff’s superior and direct supervisor,

engaged in shockingly violent, abusive, and harassing conduct towards Plaintiff.

       ANSWER:         Denied. Defendant further states that these allegations are patently false and

intentionally manufactured.

           4.      Superintendent Johnson forcibly kissed Plaintiff.

       ANSWER:         Denied. Defendant further states that these allegations are patently false and

intentionally manufactured. The parties had a consensual relationship, and all acts between them

were voluntary.

           5.      Superintendent Johnson forcibly touched Plaintiff.

       ANSWER:         Denied. Defendant further states that these allegations are patently false

and intentionally manufactured. The parties had a consensual relationship, and all acts between

them were voluntary.

           6.      Superintendent Johnson forced oral sex on Plaintiff.

       ANSWER:         Denied. Defendant further states that these allegations are patently false

and intentionally manufactured. The parties had a consensual relationship, and all acts between

them were voluntary.

           7.      Superintendent Johnson forced vaginal sex on Plaintiff.

       ANSWER:         Denied. Defendant further states that these allegations are patently false

and intentionally manufactured. The parties had a consensual relationship, and all acts between

them were voluntary.



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             8.     Superintendent Johnson carried out many unwanted and unwelcomed sexual

acts on Plaintiff in his personal office at CPD Headquarters where Plaintiff was also assigned.

        ANSWER:         Denied. Defendant further states that these allegations are patently false and

intentionally manufactured. The parties had a consensual relationship, and all acts between them

were voluntary.

             9.    Superintendent Johnson texted nude photos of himself, including of his penis, to

Plaintiff.

        ANSWER:         Denied, except to admit that, on one occasion and at the urging and request

of the Plaintiff - and while Defendant was hospitalized - Defendant sent such a picture. Defendant

further states that it now appears that the request made by Plaintiff for such a picture was made by

her for ulterior motives. Moreover, the texts of the parties, as well as those of non-parties, will

further demonstrate that Plaintiff’s allegations are wholly contrived and without merit.

             10.   Superintendent Johnson referred to Plaintiff by sexually derogatory names and

in sexually demeaning contexts, including in the presence of other City of Chicago employees.

        ANSWER:         Denied. Defendant further states that these allegations are patently false and

intentionally manufactured.

             11.   Superintendent Johnson used his position of power and authority over Plaintiff to

pressure her into engaging in these sexual acts by conditioning her employment and advancements

within CPD upon her submission to unwanted and unwelcomed sexual activity, promising her

promotions, and berating her whenever she summoned the courage to resist his advances.

        ANSWER:         Denied. Defendant further states that these allegations are patently false and

intentionally manufactured.

             12.   Not only is Superintendent Johnson individually liable to Plaintiff for his

violent, abusive, and harassing conduct, but because Superintendent Johnson was Plaintiff’s



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supervisor and highest-ranking member of the CFD with final policymaking authority, the City

of Chicago is liable as well.

       ANSWER:         Denied. Not only are the Defendants not liable, but Plaintiff’s allegations

are patently false and intentionally manufactured. At the conclusion of this action, Defendant

believes that he will have a substantial basis for seeking sanctions against the Plaintiff.

           13.   What’s more, when the City of Chicago learned of various details relating to

Plaintiff and Superintendent Johnson through a highly publicized incident occurring on October 16,

2019, Defendant (directly through Mayor Lori Lightfoot) worked to deflect blame from the City

of Chicago instead of protecting Plaintiff – the victim of Superintendent Johnson’s wrongful

conduct.

       ANSWER:         Denied with respect to this Defendant. With respect to the actions of Mayor

Lightfoot and the City of Chicago, Defendant is without sufficient knowledge and information to

respond to the allegations of this Paragraph.

           14.     Following the October 16, 2019 incident, Mayor Lightfoot publicly

acknowledged that Superintendent Johnson lied to her and lied to the public in an effort to cover

up his misconduct.

       ANSWER:         Defendant is without sufficient knowledge and information to fully respond

to these allegations because they are devoid of factual detail. However, Defendant states that he

was at all times completely truthful with Mayor Lightfoot and the public, and never engaged in

any acts to “cover up” his conduct. Nevertheless, Mayor Lightfoot reneged on an agreement with

Defendant with respect to when he would voluntarily give up his position, and publicly and falsely

accused the Defendant of being untruthful. But for statute of limitations and professional courtesy

issues, Defendant could have asserted claims against Mayor Lightfoot and the City for defamation

and slander.



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            15.   It was reported that Mayor Lightfoot said, “It has become clear that Mr. Johnson

engaged in a series of actions that are intolerable for any leader in a position of trust.”

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

the allegations of this Paragraph because, as alleged, these “facts” are vague, devoid of specificity,

and without foundation. Therefore, to the extent an Answer is required, Defendant denies them.

            16. However, in the days following the Eddie Johnson incident, neither Mayor

Lightfoot, the City of Chicago, nor the CPD ever formally interviewed or even informally spoke

with Plaintiff about the incident or the pattern of abuse she suffered from Superintendent Johnson.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

the allegations of this Paragraph. However, upon information and belief only, including what the

Plaintiff told Defendant, it appears that no such formal interview was conducted. However, there

was no “pattern of abuse” to question the Plaintiff about, and Plaintiff herself knows that any

such allegation is patently false and wholly manufactured.

            17. Instead, Mayor Lightfoot exacerbated the hostile work environment by ordering

Superintendent Johnson to “dump” Plaintiff by having her relocated away from CPD

Headquarters.

        ANSWER:         Denied. Defendant further states that there was no hostile work

environment, much less one that could be “exacerbated.” Plaintiff herself knows that any such

allegation is patently false and wholly manufactured. Defendant denies that Mayor Lightfoot told

Defendant to “dump” the Plaintiff. However, as Defendant at the time explained to the Plaintiff,

Mayor Lightfoot referred to the Plaintiff as a “bitch” during a meeting with the Defendant, and

indicated to the Defendant that Plaintiff needed to immediately be put into a different location

within CPD. In response to the Mayor’s tirade, Defendant spoke to the Plaintiff about what other

positions or locations she would like to work in. Plaintiff told Defendant that she wanted to work



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in a specific position and location, and the Defendant City of Chicago accommodated that

specific request.

           18. Thereafter, Karen Konow, Chief of CPD’s Bureau of Internal Affairs, requested

that the Office for the Inspector General for the City of Chicago “conduct an investigation of an

incident in which CPD Superintendent Eddie Johnson is alleged to have parked illegally and

slept behind the wheel of a CPD vehicle.”

       ANSWER:         Defendant is without sufficient personal knowledge and information to

respond to these allegations. However, upon information and belief only, Defendant believes that

these allegations likely accurately summarize the chain of events referenced.

           19. On or around November 14, 2019 the Office of the Inspector General then

notified Plaintiff that eight “allegations” were being made against her related to the incident

during which Superintendent Johnson parked illegally and was found asleep behind the wheel of

a CPD vehicle.

       ANSWER:         Defendant is without sufficient personal knowledge and information to

respond to these allegations because they relate to what a third-party allegedly stated to the

Plaintiff. Therefore, to the extent an Answer is required, Defendant denies these allegations.

           20. Several attorneys with the Office of the Inspector General conducted multiple

lengthy interrogations and cross-examinations of Plaintiff, including on November 25, 2019 and

on April 15, 2020.

       ANSWER:         Defendant is without sufficient personal knowledge and information to

respond to these allegations because they relate to the activities of third-parties and the Plaintiff.

Therefore, to the extent an Answer is required, Defendant denies these allegations.

           21. Also in or around April 15, 2020, an attorney from an outside private law firm

hand-picked and retained by the City of Chicago threatened Plaintiff that she could be subject to



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additional adverse employment action if she refused to sit for a third interrogation and cross-

examination.

       ANSWER:         Defendant is without sufficient personal knowledge and information to

respond to these allegations because they relate to the activities of third-parties and the Plaintiff.

Therefore, to the extent an Answer is required, Defendant denies these allegations.

           22. Plaintiff confirmed for the Inspector General that she was “ordered” by

Superintendent Johnson to accompany him on the evening of October 16, 2019 as he had done

many times before as Plaintiff’s superior and boss.

       ANSWER:         Defendant is without sufficient personal knowledge and information to

respond to these allegations because they relate to statements allegedly made by the Plaintiff to

third-parties. Therefore, to the extent an Answer is required, Defendant denies these allegations.

Defendant further states that, to the extent Plaintiff made such a statement that she had been

“ordered” to accompany the Plaintiff, it was a false statement.

           23. On December 2, 2019, Mayor Lightfoot terminated Superintendent Johnson for

lying about what happened on the night of October 16, 2019.

       ANSWER:         Denied. When Defendant met with Mayor Lightfoot for the final time,

Mayor Lightfoot told Defendant that he was terminated. In response, Defendant explained to the

Mayor, in a professional manner, that she had no authority to terminate his employment. Mayor

Lightfoot did not offer any reason for her attempted termination of the Defendant. In any event,

as Defendant left the Mayor’s office, one of the Mayor’s high-ranking aides stood up and

requested Mr. Jonson’s star. Defendant professionally provided it, and exited the meeting.

           24. On or around June 29, 2020, CPD released bodycam footage showing

Superintendent Johnson asleep behind the wheel of his parked car.

       ANSWER:         Admitted that, on or about such date, such footage was released.



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            25. This Court has jurisdiction over this case pursuant to Section 2-209 of the Illinois

Code of Civil Procedure. 735 ILCS 5/2-209.

        ANSWER:         Denied.

            26. Venue is proper under 735 ILCS 5/2-101. All parties reside in this county and the

events pertaining to the claims made in this complaint occurred in this county.

        ANSWER:         Denied.

            27.      All conditions precedent to filing suit have been met.

        ANSWER:         Defendant states that these allegations call for a legal conclusion to which

no Answer is required. To the extent an Answer is required, denied.

            28. On February 19, 2020, Plaintiff filed a complaint with the United States Equal

Employment Opportunity Commission (“EEOC”) and the Illinois Department of Human Rights.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them.

            29. A “right to sue letter” was issued to Plaintiff by the United States Department of

Justice, Civil Rights Division, on July 20, 2020. (Exhibit A, Right to Sue Letter).

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that the referenced Exhibit

speaks for itself.

            30. Plaintiff is a female employee of the Defendant City of Chicago, holding the

position of police officer.

        ANSWER:         Admitted.

            31. The City of Chicago is an employer as defined by Title VII of the Civil Rights

Act of 1964 and was at all times relevant to this complaint, Plaintiff’s employer.

        ANSWER:         Admitted.


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           32. At all times relevant to the complaint, Superintendent Johnson was the

Superintendent of the CPD and was serving in a supervisory capacity over Plaintiff.

        ANSWER:        Defendant admits that he held that position during certain of the time

periods relevant to this lawsuit. Defendant further states that whether he was “serving in a

supervisory capacity over Plaintiff” during certain time periods calls for a legal conclusion.

Defendant denies any remaining allegations.

           33. At all times relevant to the complaint, Superintendent Johnson was a person with

final policymaking authority within the City of Chicago and the CPD.

        ANSWER:        Denied. Defendant further states that these allegations call for a legal

conclusion.

           34. The City of Chicago and the CPD conducted its police functions under color of

state law through its officers and employees.

        ANSWER:        Defendant states that these allegations call for a legal conclusion.

           35. The City of Chicago employed and conferred authority upon Superintendent

Johnson to act with final policymaking authority, to act in a supervisory capacity to CPD police

officers, including Plaintiff, and at all times relevant to the complaint, the Defendants were

acting under color of state law.

        ANSWER:        Denied. Defendant further states that these allegations call for a legal

conclusion.

                                       BACKGROUND

   I.      The City of Chicago’s Recognition of Sexual Misconduct in Police
           Department Settings

           36. The City of Chicago is well aware of the prevalence and reality of law enforcement

sexual misconduct.



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       ANSWER:          Defendant states that these allegations are not directed to him, but rather to

the purported knowledge of the City of Chicago, and therefore denies them.

             37. Indeed, the City of Chicago’s own training materials regarding sexual misconduct

in law enforcement explicitly acknowledge the seriousness of the issue:




       ANSWER:          Defendant states that whatever “training manuals” Plaintiff is referring to

have not been specifically identified. Therefore, Defendant denies the allegations of this

Paragraph. Defendant further states that Plaintiff has not provided any foundation for those

materials.

             38. The City of Chicago’s own training materials further acknowledge that law

enforcement sexual misconduct has been a problem “for DECADES.”




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       ANSWER:         Defendant states that Plaintiff has not specifically identified all of the

training materials” to which she refers in this Paragraph. Therefore, Defendant denies the

allegations of this Paragraph. Defendant further states that the cited materials above speak for

themselves, but are without any foundation offered by the Plaintiff.

           39. The City of Chicago’s own training materials cite to the International Association

of Chiefs of Police (“IACP”) statement that, “[t]he problem of sexual misconduct by officers

warrants the full attention of law enforcement leadership. It represents a grave abuse of authority

and violation of the civil rights of those victimized.”




       ANSWER:         Defendant states that Plaintiff has not specifically identified all of the

training materials” to which she is referring in this Paragraph. Therefore, Defendant denies the

allegations of this Paragraph. Defendant further states that the cited materials above speak for

themselves, but are without any foundation offered by the Plaintiff.

           40. The City of Chicago’s own training materials cite the IACP’s definitions of law

enforcement sexual misconduct as:




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       ANSWER:         Defendant states that Plaintiff has not specifically identified all of the

training materials to which she is referring, and therefore denies the allegations of this Paragraph.

Defendant further states that the cited materials above speak for themselves, but are without any

foundation offered by the Plaintiff.

           41. The City of Chicago’s Policy on Sexual Harassment states that, “each employee

has the right to work in an environment free of discrimination, including sexual harassment. No

person should be required to endure sexual harassment by supervisors or coworkers or work in

a hostile environment as a condition of employment.” (emphasis added):




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       ANSWER:         Defendant states that the cited materials speak for themselves, and denies

any remaining allegations of this Paragraph. Defendant further states that Plaintiff has not

provided any foundation for the cited materials.

           42. The City of Chicago’s Policy on Sexual Harassment prohibits:

                   “any unwelcome sexual advance or request for sexual favors or
                   conduct of a sexual nature when submission to such conduct is
                   made either explicitly or implicitly a term or condition of an
                   individual’s employment . . . or when submission to or rejection
                   of such conduct by an individual is used as the basis of any
                   employment or service decision affecting the individual; or when
                   such conduct has the purpose or effect of substantially interfering
                   with the work performance of an employee or creating an
                   intimidating, hostile, or offensive work environment.”

       ANSWER:         Defendant states that the cited materials speak for themselves, and denies

any remaining allegations of this Paragraph. Defendant further states that Plaintiff has not

provided any foundation for those materials.

           43. The City of Chicago’s Policy on Sexual Harassment prohibits:

                   “sexual harassment” as “a broad range of conduct which can, in
                   certain circumstances, be considered sexual harassment under
                   this Policy. This includes, but is not limited to, sexually
                   suggestive or offensive remarks or rumors, sexually suggestive
                   pictures or graffiti, sexual suggestive gesturing, verbal


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                   harassment or abuse of a sexual nature, the displaying of sexual
                   objects, subtle or direct propositions for sexual favors, stalking,
                   sexual assault, touching, patting, or pinching, and sending
                   sexually suggestive e-mail messages.”

       ANSWER:         Defendant states that the cited materials speak for themselves, and denies

any remaining allegations of this Paragraph. Defendant further states that Plaintiff has not

provided any foundation for those materials.

           44. The City of Chicago acknowledges how sexually harassing behavior is likely to

develop, including in the law enforcement setting:




       ANSWER:         Defendant states that the cited materials speak for themselves, and denies

any remaining allegations of this Paragraph. Defendant further states that Plaintiff has not

provided any foundation for those materials.

           45. As detailed below, the timeline and narrative of Superintendent Johnson’s sexual

misconduct against Plaintiff is the classic scenario, one which the City of Chicago’s own policies

and training documents acknowledge is an existing problem in the law enforcement setting.

       ANSWER:         Denied. Defendant further states that Plaintiff well knows that Defendant

never engaged in any sexual misconduct with respect to the Plaintiff.

           46. Indeed, it is widely known and reported that there is a pattern of sexual abuse,

harassment, retaliation and hostile work environment within the CPD perpetrated by male


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superiors against female subordinates.

       ANSWER:         Defendant denies these allegations because Plaintiff provides no support or

foundation for these allegations, or who it is that has purportedly “widely known and reported” on

the “facts” alleged in this Paragraph.

           47. One recent example is the case of CPD Officer Kelly Hespe who alleged that her

superior and supervisor, CPD Sergeant Gerald Breimon, forced Officer Hespe to engage in

sexual acts while on duty over the course of a three year period, approximately the same duration

of Superintendent Johnson’s abuse of Plaintiff.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

           48.   The City of Chicago reportedly settled Officer Hespe’s lawsuit for $300,000 of

taxpayers’ money.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

           49. Another example is the case of CPD Officer Laura Kubiak who alleged she was

fired for reporting a fellow superior CPD officer who called her a “stupid b*itch” and threatened

her while on duty.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

           50. It was alleged that after Officer Kubiak reported the incident she was ousted from

her job while the accused high ranking CPD officer, who had a lengthy history of misconduct



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complaints, kept his same job.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

           51. The City of Chicago reportedly settled Officer Kubiak’s lawsuit for nearly

$4,000,000 of Chicago taxpayers’ money.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

           52. CPD Officer Shannon Spalding reportedly stated that “there is nowhere in the

department where [anyone] can go and say ‘this is what happened’ without losing their job,

possibly even their life.”

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

           53. When Officer Spalding reported the misconduct of CPD Sergeant Ronald Watts and

others, she was labeled a “rat” by her superiors within the CPD and she was demoted to less

desirable jobs.

       ANSWER: Defendant is without sufficient knowledge and information to respond to these

allegations, and therefore denies them. Defendant further states that such allegations, even if true,

have no relevance to the present action.

           54. The City of Chicago settled Officer Spalding’s lawsuit for $2,000,000 of

taxpayers’ money, allowing then Mayor Rahm Emanuel to escape from having to testify in a

public courtroom under oath regarding the code of silence within CPD which Mayor Emanuel



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admitted exists.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

              55. In a comprehensive data analysis conducted by the Chicago Alliance Against

Sexual Exploitation (“CAASE”) which was published in October 2020, over the last decade a

staggering 80% to 90% of survivors of sexual violence in Chicago never saw an initial arrest in

their case.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

              56. Notably, Superintendent Johnson was CPD’s highest ranking police officer for

nearly 5 years of the 10-year period analyzed by CAASE.

        ANSWER:         Denied.

              57. CAASE determined that only 3% to 6% of all sexual assaults that occur in Chicago

lead to any intervention by Chicago law enforcement.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

              58. As such, CAASE has concluded, “if the purported purpose of law enforcement is

to investigate and arrest people who have caused [sexual] harm, Chicago police are failing.”

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.



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            59. CAASE noted that criminal sexual assault in which the victim and perpetrator know

one another (commonly referred to as acquaintance or date rape) is frequently depicted in our

society as a misunderstanding between friends, or a hazy evening clouded by intoxication or other

factors, rather than what it is: rape.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

            60.     CAASE concluded that the Chicago police are failing and changes need to be

made.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action.

            61. Accordingly, CAASE has set out a multi-point strategic plan for Chicago leaders, and

specifically Mayor Lori Lightfoot, to address the crisis of CPD’s failure to adequately handle sexual

assaults.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even if

true, have no relevance to the present action.

            62. Mayor Lightfoot has confessed that the City of Chicago needs to do better to ensure

that officers who report misconduct have the support they need.

        ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states that such allegations, even

if true, have no relevance to the present action. Defendant further states that Plaintiff has failed to

provide any foundation for this alleged confession by the Mayor.



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             63. In fact, so much improvement is needed that as of September 2020 Mayor Lightfoot

admitted that the issue needs to be addressed in contract talks with the Fraternal Order of Police.

          ANSWER: Defendant is without sufficient knowledge and information to respond to these

allegations, and therefore denies them. Defendant further states that such allegations, even if true,

have no relevance to the present action. Defendant further states that Plaintiff has failed to provide

any foundation for this alleged admission by the Mayor.

    II.      Factual Background

              64.   In or around November 2006, Plaintiff began her career as a police officer with

the CPD.

          ANSWER: Upon information and belief, admitted.

              65.   During the summer of 2015, based on information and belief, Superintendent

Johnson first noticed Plaintiff working as a CPD officer while she was assigned to the First District.

          ANSWER: Denied.

              66.   Around that time, and on information and belief, Superintendent Johnson called

a friend of his, described Plaintiff’s physical appearance, and stated in a sexually suggestive and

demeaning manner, “How did we miss this one?”

          ANSWER:         Denied. Defendant further states that Plaintiff has failed to provide a

foundation for these allegations.


             67.    Superintendent Johnson then masterminded a plan to have Plaintiff assigned

to his unit so that he could be close to her, keep her under his control, dictate her work hours and

schedule, ply her with alcohol, and perpetrate his sexual harassment and abuse of her.

          ANSWER:         Denied.

             68.    In or around May 2016, Superintendent Johnson arranged for Plaintiff to be

assigned to his detail.


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        ANSWER:         Admitted.

               69.   Approximately six months later, Superintendent Johnson arranged for

Plaintiff to be his personal driver.

        ANSWER:         Denied. Defendant further states that Plaintiff requested to be considered

for the job.

               70.   Shortly thereafter, Superintendent Johnson began using his authority as

Plaintiff’s supervisor to engage in years of sexually harassing and abusive conduct directed at

Plaintiff creating an ongoing pattern of emotional, physical and sexual abuse of Plaintiff.

        ANSWER:         Denied.

               A.    Superintendent Johnson Sexually Assaults and Harasses Plaintiff

               71.   The first incident occurred around the end of June or early July of 2016 before

Plaintiff drove Superintendent Johnson to an event that he was scheduled to attend in his capacity

as the Superintendent of the CPD.

        ANSWER:         Denied.

               72.   Before leaving CPD Headquarters for the event, Superintendent Johnson

requested that Plaintiff come to his personal office, located in the CPD Headquarters building.

        ANSWER:         Denied

               73.   Upon entering Superintendent Johnson’s office, Plaintiff excused herself to a

side room to make sure she looked appropriate for the event.

        ANSWER:         Denied.

               74.   While Plaintiff was readying herself for the event, Superintendent Johnson

entered the room, forced Plaintiff onto a nearby couch, pulled Plaintiff’s pants down without her

consent, and forcibly performed unwanted oral sex on her.

        ANSWER:         Denied.



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           75.     Superintendent Johnson then ejaculated onto Plaintiff’s body and told her,

“now you know you belong to me.”

       ANSWER:         Denied.

           76.     Thereafter, Superintendent Johnson engaged in regular and frequent sexually

harassing, abusive, and humiliating conduct towards Plaintiff, conduct which was persistent and

unwanted and continued through the end of 2019.

       ANSWER:         Denied.

           77.     On multiple occasions from 2016 through 2019, and while on City of Chicago

property, Superintendent Johnson forcibly pried Plaintiff’s legs open and performed unwanted

oral sex on her.

       ANSWER:         Denied.

           78.     On multiple occasions from 2016 through 2019, Superintendent Johnson locked

Plaintiff in his personal office and conditioned her release from his office on Plaintiff performing

sexual acts on him.

       ANSWER:         Denied.

           79.     On multiple occasions from 2016 through 2019, Superintendent Johnson

required Plaintiff to travel with him on work related trips that were sanctioned and paid for by

the City of Chicago.

       ANSWER:         Denied.

           80. On multiple occasions from 2016 through 2019, while on work-related trips,

Superintendent Johnson’s conduct demonstrated that he expected Plaintiff to perform sexual acts

on him.

       ANSWER:         Denied.

            81. On multiple occasions from 2016 through 2019, while on work-related trips,



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Superintendent Johnson ordered Plaintiff to come into his hotel room and engage in sexual

activity.

        ANSWER:         Denied.

            82.     On occasions during these work-related trips that Plaintiff was able to avoid

  Superintendent Johnson’s sexual advances, Superintendent Johnson would tell Plaintiff that she

  “got away this time.”

        ANSWER:         Denied.

            83. On multiple occasions, after Superintendent Johnson forced Plaintiff to perform

a sexual act on him, Superintendent Johnson made sexually suggestive and harassing remarks to

Plaintiff such as, “The City owes you another check for making my workday easier” and “you get

me through this job.”

        ANSWER:         Denied.

            84. Superintendent Johnson regularly sent Plaintiff unwanted and harassing text

messages.

        ANSWER:         Denied.

            85. Superintendent Johnson sent Plaintiff nude pictures of himself, including of his

naked penis.

        ANSWER:         Denied, except for one occasion as referenced above.

            86. Superintendent Johnson regularly and frequently forcefully touched and kissed

Plaintiff, including while on City of Chicago property.

        ANSWER:         Denied.

            87. Superintendent Johnson regularly referred to Plaintiff by sexually derogatory

names and in sexually demeaning contexts. For instance:

                  a. When Plaintiff did not have to wear her police uniform for various City of



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                     Chicago work events, Superintendent Johnson would tell Plaintiff to “wear

                     something cute” and that her wearing such “cute” outfits for him was, “the

                     nature of the job.”

                  b. Superintendent Johnson told Plaintiff that other police officers wanted to “give

                     him p*ssy” but that his focus was on Plaintiff;

                  c. Superintendent Johnson told other City of Chicago employees that

                      Plaintiff was “his girl;” and

                  d. Superintendent Johnson told Plaintiff, “you gonna give me some

                     and like it.”

       ANSWER:           Denied.

               88. On an occasion when Superintendent Johnson had a verbal altercation with his

secretary, the secretary said to him, “I see you’re having a bad day, let me go get Cynthia

[Plaintiff] – your eye candy.”

       ANSWER:           Denied. Defendant further states that Plaintiff has failed to provide any

foundation for this alleged incident.

               89. Superintendent Johnson regularly and frequently asked Plaintiff what color

underwear she was wearing, including while on City of Chicago property and during work hours.

       ANSWER:           Denied.

               90. Superintendent Johnson kept alcoholic beverages in his office at CPD

Headquarters and on several occasions plied Plaintiff with alcohol into performing unwanted

sexual acts.

       ANSWER:           Admitted that Defendant had alcohol in his office, and denies the remaining

allegations of this Paragraph.




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           B.      Superintendent Johnson’s Actions Towards Plaintiff were
                   Unwanted

            91.     On multiple occasions between 2016 and 2019, Plaintiff asked Superintendent

Johnson to stop sexually harassing and assaulting her.

       ANSWER:         Denied.

            92.     On multiple occasions between 2016 and 2019, Plaintiff asked Superintendent

Johnson to stop kissing her.

       ANSWER:         Denied.

            93.    On multiple occasions between 2016 and 2019, Plaintiff asked Superintendent

Johnson to stop asking her about her underwear.

       ANSWER:         Denied.

           C.      Superintendent Johnson Used his Position of Power and Authority
                   over Plaintiff to Pressure Plaintiff into Engaging in Sexual Acts

            94. In or around the fall of 2019, Superintendent Johnson learned that Plaintiff was

interested in taking the CPD Sergeant’s exam.

       ANSWER:         Admitted.

            95. Plaintiff expressed reservations about taking the exam because she did not think

she had time to study. Superintendent Johnson, however, pressured Plaintiff into studying for the

exam anyway.

       ANSWER:         Denied.

            96. While Plaintiff was studying for the CPD Sergeant’s exam, Superintendent

Johnson told Plaintiff that she needed to “stay on his good side” if she wanted to make merit

Sergeant, and that he could make that happen for Plaintiff.

       ANSWER:         Denied.



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             97. Superintendent Johnson repeatedly told Plaintiff that “the list of favors” that

Plaintiff owed him was growing longer with each person he moved to a different unit to clear the

way for Plaintiff to be promoted to Sergeant.

        ANSWER:        Denied.

             98. In exchange, Superintendent Johnson demanded that Plaintiff “pay up soon,”

which communicated to Plaintiff that she would have to perform sexual acts on him.

        ANSWER:        Denied.

             99. Superintendent Johnson regularly talked to Plaintiff about female CPD officers

who wanted to “give him some” in exchange for promotions or “comfortable assignments.”

        ANSWER:        Denied.

             100.       When Superintendent Johnson believed another male CPD officer was

showing an interest in Plaintiff, Superintendent Johnson would tell Plaintiff, “don’t have me put

him somewhere on midnights [shifts].” Plaintiff took such comments to

be an outward expression and threat of the power Superintendent had over Plaintiff and the entire

CPD to retaliate against and demote anyone he chose for any reason he chose, including Plaintiff.

        ANSWER:        Denied.

             101. On occasions that Plaintiff would resist Superintendent Johnson’s sexual

overtures, Superintendent Johnson would throw tantrums and berate Plaintiff until she acquiesced

and participated in unwanted sexual acts.

        ANSWER: Denied.

        D.      October 16, 2019 Incident and Resulting Fallout

             102. On October 16, 2019, Plaintiff was sitting at her office desk when

Superintendent Johnson ordered her to leave her desk and get in his car. Superintendent Johnson

then drove Plaintiff to a restaurant.



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           ANSWER: Denied,

                103. After the restaurant, Superintendent Johnson drove Plaintiff back to her car and

   Plaintiff drove herself home.

           ANSWER: Admitted.

                104. Superintendent Johnson, however, did not go home. He was found hours later by

   CPD police officers asleep in his car and allegedly intoxicated.

           ANSWER: Admitted in part, denied in part. Defendant was on his way home when he

    stopped. He was questioned by CPD officers after falling asleep. Defendant denies any remaining

    allegations of this Paragraph.

                105. Superintendent Johnson’s behavior on October 16, 2019 caused the City of

   Chicago great embarrassment and led to an investigation by the City of Chicago through which

   Mayor Lightfoot learned of Superintendent Johnson’s highly inappropriate behavior towards

   Plaintiff.

           ANSWER: Defendant is without sufficient knowledge and information to respond to the

   allegations regarding Mayor Lightfoot’s reaction, and therefore denies them. Defendant denies the

   remaining allegations of this Paragraph.

                106. While the City’s own training materials reference empowering victims and

   survivors to report instances of sexual misconduct by “help[ing] victims feel physically,

   psychologically, and emotionally safe in the reporting process” and to avoid “victim blaming,”

   here, the City did the opposite.

           ANSWER: Defendant is without sufficient knowledge and information to respond to

   Plaintiff’s allegations that reference, without foundation, certain training materials. Defendant

   denies the remaining allegations of this Paragraph.

                107.      Mayor Lightfoot directed Superintendent Johnson to “dump” Plaintiff by

removing Plaintiff from Superintendent Johnson’s detail and sending Plaintiff back to the First

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District, a demotion, away from CPD Headquarters.

          ANSWER: Denied.

               108.        Approximately one month later, around November 14, 2019, Plaintiff was

   notified of various allegations of misconduct being brought against her.

          ANSWER: Defendant is without sufficient knowledge and information to respond to these

   allegations, and therefore denies them.

               109.        These allegations of misconduct were brought in retaliation for

   Plaintiff’s connection to the October 16, 2019 incident and to deflect blame from

   Superintendent Johnson, Mayor Lightfoot, and the City of Chicago, and represent an ongoing

   practice of discrimination and constitute a continuing violation.

          ANSWER: Denied.

               110.        After Mayor Lightfoot ordered Superintendent Johnson to remove

   Plaintiff from his detail and demote Plaintiff to the First District, Superintendent Johnson made

   the following derogatory remarks to Plaintiff, referring to Plaintiff as his “music”:

                      “that bitch [Mayor Lori Lightfoot] is trying to steal ‘my music’”

                                                  and

                       “this tiny negro [Mayor Lori Lightfoot] is still clowning”

          ANSWER: Denied.

              111.         Superintendent Johnson, however, was not ready to let Plaintiff go.

  Instead of transferring Plaintiff out of CPD Headquarters (where Superintendent Johnson’s

  personal office was located), Superintendent Johnson placed Plaintiff in the records department

  on the second floor of Headquarters where he could continue to sexually harass her.




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        ANSWER: Denied. Defendant further states that the position referenced, which

Plaintiff filled, was the one that Plaintiff specifically requested that she be allowed to fill.

            112.    Superintendent Johnson continued to demand that Plaintiff come to his fifth-

floor office so he could continue to sexually harass and assault her.

        ANSWER: Denied.

            113.    On one such occasion, Plaintiff’s young son was visiting Plaintiff at work when

Superintendent Johnson called on Plaintiff to come to his fifth-floor office with her son.

        ANSWER: Defendant admits that, on an occasion, Plaintiff was with her son at

Defendant’s office. Defendant denies the remaining allegations of this Paragraph.

            114.        Superintendent Johnson then attempted to touch Plaintiff’s buttocks while

her son was facing another direction but with the possibility of Plaintiff’s son witnessing this

nonconsensual and unwanted sexual assault.

        ANSWER: Denied.

            115.        As more details relating to the October 16, 2019 incident came to light in

the media, Superintendent Johnson confessed to Plaintiff that he damaged or destroyed evidence

contained in his cell phone.

        ANSWER: Denied. Defendant further states that these allegations constitute an utter

fabrication.

            116.        As part of its investigation into the October 16, 2019 incident, the City of

Chicago Inspector General requested possession of Plaintiff’s cell phone.

        ANSWER: Upon information and belief only, admitted.

            117.    Plaintiff left her cell phone on her desk at CPD Headquarters.




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        ANSWER:         Defendant is without sufficient personal knowledge to know whether

Plaintiff actually did so, and therefore denies the allegations of this Paragraph.

            118.        The Inspector General has since claimed that the SIM card in Plaintiff’s

cell phone was damaged or destroyed.

        ANSWER:         Defendant is without sufficient knowledge or information to respond to

these allegations, including based upon the lack of foundation provided for these allegations.

            119.        In order for Superintendent Johnson to destroy all evidence of his text

message and/or email exchanges with Plaintiff he would have to destroy the evidence of his

sexual assaults and sexual harassment contained in both his cell phone and Plaintiff’s cell phone.

        ANSWER: Denied. Defendant further states that the texts of Plaintiff, Defendant, and

those of others will corroborate Defendant’s denials of Plaintiff’s allegations in this case and put

the lie to those allegations.

            E.      Plaintiff’s Injuries

            120.        Plaintiff’s constitutional right to her bodily integrity was taken from her by

Superintendent Johnson.

        ANSWER:         Denied.

            121.        Plaintiff’s dignity as a human being was taken away from her by

Superintendent Johnson.

        ANSWER:         Denied.

            122.        Following his termination from CPD, Superintendent Johnson stalked

Plaintiff by constantly calling, texting and showing up to locations where he knew Plaintiff

would be, resulting in Plaintiff fearing for her personal safety.




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       ANSWER:         Denied. Defendant further states that Plaintiff’s allegations are knowingly

and intentionally false. Indeed, as referenced above, after Defendant was removed from his

Superintendent’s position, Plaintiff continued to seek out, and to continue to engage in a

friendship with, the Defendant. In fact, on some occasions, Plaintiff directed, or agreed to meet

with Defendant, at discrete locations because she was, inter alia, concerned that her husband

would find out that she was interacting and communicating with the Defendant. At one point,

Plaintiff suggested to the Defendant that they get “burner phones” so that they could continue to

communicate with each other. As Defendant later learned, Plaintiff was making that suggestion

while simultaneously meeting with her lawyers in this case to provide them with false allegations

about the Defendant. Plaintiff also lobbied Defendant’s friends to allow her to attend the funeral

of Defendant’s brother. Subsequently, on her own, Plaintiff showed up at a bar where

Defendant’s friends had taken him to commiserate regarding the death of his brother. Plaintiff

attempted to show up on that occasion “incognito” in a wig. Plaintiff then spent a substantial

period of time with Defendant and the group, socially, drinking, and interacting. Plaintiff also

sought and received a loan from the Defendant. Incredibly, Defendant later learned that, shortly

after receiving that loan from Defendant, Plaintiff had Defendant drive her to a location for a

meeting. As it now turns out, that was a meeting Plaintiff had with the lawyers representing her

in this case. After that meeting with her attorneys, Plaintiff then went with Defendant to a cell

phone store and spent additional tine with him. In short, Plaintiff was hoodwinking her own

attorneys, and keeping it from them that she was continuing to have a friendly and cordial

relationship with the Defendant. Plaintiff also met with Defendant during this time period to

receive a Christmas present from the Defendant. Moreover, the texts of Plaintiff, Defendant, and

others during this time period will further corroborate the fact that Plaintiff and Defendant




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continued to have a friendly, non-sexual relationship. During this time period, Plaintiff even

made comments to the Defendant suggesting that, despite the fact that they were both still

married and no longer in a sexual relationship that they would end up together. In the context of

those statements, Plaintiff referred to the Defendant’s wife and the look she would have on her

face when she saw the Plaintiff and Defendant together.

        123. As a result of the conduct described above, Plaintiff has been treated by multiple

mental health professionals.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

these allegations, and therefore denies them. Defendant further states, however, that to the extent

Plaintiff has received such treatment, it has nothing to do with the Defendant or with Plaintiff’s

employment. Upon information and belief, as well as based upon information that Plaintiff

shared with the Defendant, to the extent that Plaintiff has received such treatment, it either arose

out of numerous issues and circumstances that Plaintiff has experienced - some bizarre and

troubling – or it was received per the direction of her counsel in this case.

        124. Defendants’ actions have damaged Plaintiff and caused Plaintiff to suffer physical

and psychiatric injuries.

       ANSWER:         Denied.

        125. Plaintiff has been diagnosed as having Chronic “Post Traumatic Stress Disorder”

as a direct result of Defendants’ actions and course of conduct.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

the allegations of this Paragraph, and therefore denies them. Defendant denies that, if Plaintiff

has PTSD or a diagnosis of it, it has anything to do with the Defendant or Plaintiff’s

employment. In fact, Plaintiff shared information with the Defendant - some bizarre and deeply




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troubling - that would suggest that, if Plaintiff has ever actually and legitimately suffered from

PTSD, it arose out of various others events and traumas suffered by Plaintiff which have

absolutely nothing to do with the Defendant or with Plaintiff’s employment.

        126. Post-Traumatic Stress Disorder (“PTSD”) is a mental illness that can develop

after a person is exposed to one or more traumatic events, such as sexual assault.

       ANSWER:         Defendant admits that, based upon his layman’s understanding and upon

information and belief, a person who legitimately and actually has PTSD may have been exposed

to such events, and denies any remaining allegations. Defendant denies that, if Plaintiff has PTSD

or a diagnosis of it, that it has anything to do with the Defendant or Plaintiff’s employment. In fact,

Plaintiff shared information with the Defendant – some bizarre and deeply troubling - that would

suggest that, if Plaintiff has ever actually and legitimately suffered from PTSD, it arose out of

various others events and traumas suffered by Plaintiff which have absolutely nothing to do with

the Defendant or with Plaintiff’s employment.

        127. PTSD symptoms include disturbing flashbacks, avoidance, or numbing of

memories of the event, and hyperarousal which continue for more than a month after the occurrence of

a traumatic event.

       ANSWER:         Defendant admits that, based upon his layman’s understanding and upon

information and belief, a person who legitimately and actually has PTSD might suffer from one

or more such symptoms, and denies any remaining allegations. Defendant denies that, if Plaintiff

has PTSD or a diagnosis of it, that it has anything to do with the Defendant or Plaintiff’s

employment. Plaintiff shared information with the Defendant – some bizarre and deeply

troubling - that would suggest that, if Plaintiff has ever actually and legitimately suffered from




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PTSD, it arose out of various others events and traumas suffered by Plaintiff which have

absolutely nothing to do with the Defendant or with Plaintiff’s employment.

        128. Plaintiff has also been diagnosed as having Confirmed “Adult Psychological

Abuse” as a direct result of Defendants’ actions and course of conduct.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

Plaintiff’s allegations, and therefore denies them.

        129. Adult Psychological Abuse, also referred to as psychological violence emotional

abuse or mental abuse, is a form of abuse characterized by a person subjecting or exposing

another to behavior that may result in psychological trauma, including anxiety, chronic

depression, or post-traumatic stress disorder.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

Plaintiff’s allegations, and therefore denies them.

        130. Adult Psychological Abuse is often associated with situations of power

imbalance, such as abusive relationships, bullying, and abuse in the workplace.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

Plaintiff’s allegations, and therefore denies them.

        131. Plaintiff lives in a constant state of fear for her personal safety and her son’s safety.

       ANSWER:         Denied. Defendant further states that, to the extent Plaintiff does so, it has

nothing to do with the Defendant or with her employment with the City of Chicago.

        132.    Plaintiff suffers from severe depression, anxiety, and stress.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

Plaintiff’s allegation regarding what she allegedly currently “suffers from,” and therefore denies

them. However, Defendant further states that, to the extent she is actually experiencing any such




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mental health issue, they have nothing to do with the Defendant. Moreover, Plaintiff had already

suffered from certain of those conditions without regard to the Defendant or to Plaintiff’s

employment with the City of Chicago.

        133. Plaintiff’s symptoms include regular nightmares about Superintendent Johnson,

hair loss, weight gain, and embarrassment.

       ANSWER:         Defendant is without sufficient knowledge and information to respond to

Plaintiff’s allegation, and therefore denies them. However, Defendant further states that, to the

extent she is actually experiencing any such “symptoms,” they have nothing to do with the

Defendant. Moreover, Plaintiff had already suffered from certain of those symptoms without

regard to the Defendant or to Plaintiff’s employment with the City of Chicago.


                                          COUNT I
        Title VII, 42 U.S.C. §2000(e) et seq. – Sexual Discrimination, Harassment,
                          and Hostile Work Environment Claim
                            Against Defendant City of Chicago

        134. Each of the foregoing paragraphs are incorporated herein as if fully restated.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        135. At all relevant times, Superintendent Johnson was Plaintiff’s supervisor and

employed by the City of Chicago.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        136. As described above, Superintendent Johnson’s conduct toward Plaintiff was

unwelcome and occurred because of and based upon Plaintiff’s gender.




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       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        137. Superintendent Johnson’s conduct occurred over several years, constituting a

continuing course of discrimination towards Plaintiff.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        138. Superintendent Johnson committed an unlawful employment practice by treating

Plaintiff differently because of her sex, causing a change in the condition of her employment and

subjecting her to a hostile work environment.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        139. Plaintiff was subjected to a sexually objectionable environment that was both

objectively and subjectively offensive, one that a reasonable person would find hostile or

abusive, and one that Plaintiff in fact did perceive to be so.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        140. The conduct of Plaintiff’s employer had the purpose or effect of unreasonably

interfering with Plaintiff’s work performance.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        141. The conduct of Plaintiff’s employer had the purpose or effect of creating an

intimidating, hostile and offensive work environment.




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       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        142. The actions of Plaintiff’s employer permeated the workplace with discriminatory

intimidation, ridicule and insult that was sufficiently severe or pervasive and regular to alter the

conditions of Plaintiff’s employment and create an abusive working environment.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        143. Defendant has therefore denied Plaintiff her rights under the Civil Rights Act of

1964 and she has suffered damages as a direct result of her rights being violated, including those

set forth in paragraphs 120-133, which are likely to continue into the future.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

                                        COUNT II
                         42 U.S.C. §1983 – Equal Protection Claim
                            Against Defendant Superintendent
                                         Johnson

        144. Each of the foregoing paragraphs are incorporated herein as if fully restated.

       ANSWER:         Defendant admits that Plaintiff has restated the above Paragraphs, and

denies any remaining allegations.

        145.       Plaintiff is a female and is a member of a protected class.

       ANSWER:         Admitted.

        146. Plaintiff was similarly situated to individuals not of the protected class such as male

coworkers.

       ANSWER:         Defendant states that these allegations call for legal conclusions to which

no Answer is required. To the extent an Answer is required, Defendant denies these allegations,


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and further states that Plaintiff has failed to identify those to whom she is or was similarly

situated.

            147. Superintendent Johnson treated Plaintiff differently than other similarly situated

male employees without a legitimate governmental purpose of doing so.

        ANSWER:           Denied.

            148. Superintendent Johnson was personally involved in the constitutional violations

of Plaintiff.

        ANSWER:           Denied.

            149. Superintendent Johnson’s actions with respect to Plaintiff were motivated by a

discriminatory purpose, in violation of Plaintiff’s constitutional rights to equal protection under

the law and her right to bodily integrity.

        ANSWER:           Denied.

            150.      Superintendent Johnson acted with discriminatory intent.

        ANSWER:           Denied.

            151. As a direct and proximate result of this equal protection violation, Plaintiff

suffered damages, including those set forth in paragraphs 120-133.

        ANSWER:           Denied.


                                            COUNT III
                                  42 U.S.C. §1983 – Monell Claim
                                     Against Defendant City of
                                              Chicago

            152. Each of the foregoing paragraphs are incorporated herein as if fully restated.

        ANSWER:           This Count is not directed to Defendant, and therefore no Answer is

required.




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        153. At all times relevant to the complaint Superintendent Johnson was a person with

final policymaking authority within the City of Chicago and CPD.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        154. At all times relevant to the complaint Superintendent Johnson was a policymaker

for the City of Chicago.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        155. By compelling and demanding that Plaintiff engage in sexual activity,

Superintendent Johnson, an agent of the City of Chicago, violated Plaintiff’s Fourteenth

Amendment rights to substantive due process, liberty interests, and bodily integrity.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        156. By treating Plaintiff differently because of her sex, Superintendent Johnson, an

agent of the City of Chicago, violated Plaintiff’s rights to equal protection under the Fourteenth

Amendment.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.

        157. As a direct and proximate result of the decisions and actions of Superintendent

Johnson, an agent of the City of Chicago with final policymaking authority, Plaintiff suffered

damages, including those set forth in paragraphs 120- 133.

       ANSWER:         This Count is not directed to Defendant, and therefore no Answer is

required.



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                                            COUNT IV
                               Illinois Gender Violence Act 749 ILCS
                              82/5 Against Defendant Superintendent
                                             Johnson

             158. Each of the foregoing paragraphs are incorporated herein as if fully restated.

         ANSWER:           Defendant admits that Plaintiff has incorporated her above allegations, and

denies any remaining allegations.

             159. Superintendent Johnson’s conduct, as described in the foregoing paragraphs, was

insulting, offensive, done intentionally and knowingly, and without Plaintiff’s consent.

         ANSWER:           Denied.

             160. Superintendent Johnson’s conduct, as described in the foregoing paragraphs,

satisfies the elements of battery under the laws of Illinois.

         ANSWER:           Denied.

             161. Superintendent Johnson’s conduct, as described in the foregoing paragraphs, was

committed on the basis of Plaintiff’s sex.

         ANSWER:           Denied.

             162. Superintendent Johnson’s conduct, as described in the foregoing paragraphs, was

of a sexual nature.

         ANSWER:           Defendant admits that Plaintiff has alleged conduct of a sexual nature, and

denies any remaining allegations.

             163. Superintendent Johnson’s conduct was committed under coercive conditions in

that Superintendent Johnson was Plaintiff’s supervisor and took advantage of his authority over

Plaintiff.

         ANSWER:           Denied.

             164. Superintendent Johnson’s conduct, as described in the foregoing paragraphs,



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included threats which caused Plaintiff a realistic apprehension that Superintendent Johnson

would commit the acts threatened.

        ANSWER:        Denied.

        165. As a direct and proximate result, Plaintiff suffered damages, including those set

forth in paragraphs 120-133.

        ANSWER:        Denied.


                                        COUNT V
                                  Spoliation of Evidence
                        Against Defendant Superintendent Johnson

        166. Each of the foregoing paragraphs are incorporated herein as if fully restated.

        ANSWER:        Defendant admits that Plaintiff has incorporated her above allegations, and

denies any remaining allegations.

        167. Plaintiff and Superintendent Johnson were in possession of text messages on their

respective cell phones relating to Superintendent Johnson’s sexually abusive, harassing, and

discriminatory conduct towards Plaintiff that created a hostile work environment.

        ANSWER:        Defendant admits that Plaintiff and Defendant were in possession of text

messages. Defendant denies the remaining allegations of this Paragraph. Indeed, the parties’ text

messages will reveal the consensual nature of the parties’ relationship, and that Plaintiff’s

allegations in this Complaint are false, contrived, and made in an attempt to bring her financial

gain.

        168. Said text messages were critical evidence in establishing Superintendent

Johnson’s sexually abusive, harassing, and discriminatory conduct towards Plaintiff and the

resulting hostile work environment.

        ANSWER:        Denied.



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        169.       Superintendent Johnson had a pre-suit duty to preserve said text messages given

their relevance and probity to Plaintiff’s case.

       ANSWER:         Denied. Defendant further states that these allegations call for a legal

conclusion.

        170. Superintendent Johnson breached the duty by engaging in an active cover up

when he erased, damaged, and/or destroyed his own cell phone which electronically stored said

text messages.

       ANSWER:         Denied. Defendant further states that these allegations call for a legal

conclusion.

        171. As a direct and proximate result of Superintendent Johnson’s breach of duty,

Plaintiff has been severely injured because if Superintendent Johnson had not destroyed his own

cell phone, Plaintiff would have been able to introduce additional evidence of her sexual

discrimination and harassment case against Defendants.

       ANSWER:         Denied. Defendant further states that these allegations call for a legal

conclusion.

       WHEREFORE, Defendant Eddie Johnson, by and through his attorneys, respectfully

request that the Court deny Plaintiff’s request for relief against Defendant Eddie Johnson; enter

judgment in his favor and against the Plaintiff; and award him his attorneys’ fees and costs for

defending Plaintiff’s intentionally false allegations.




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       AFFIRMATIVE DEFENSES

       1.      Plaintiff’s allegations fail to state a claim upon which relief can be based with

respect to this Defendant.

       2.      Plaintiff’s claims are preempted by Title VII.

       3.      Plaintiff’s claims are barred because she failed to avail herself of he internal

reporting mechanisms that the City of Chicago afforded its employees for reporting alleged

harassment or discrimination.

       4.      Plaintiff’s claims are barred because Plaintiff failed to exhaust her administrative

remedies provided for her in the collective bargaining agreement governing her employment.

       5.      Plaintiff’s claims are barred because Plaintiff failed to exhaust her administrative

remedies provided for her by the federal EEOC and Illinois Department of Human Rights.

       6.      Plaintiff’s claims are barred because she failed to timely file a Charge with the

EEOC and/or the Illinois Department of Human Rights.

       7.      Plaintiff’s claims fail because there is no individual liability for Defendant, who is

not the employer of the Plaintiff.

       8.      Plaintiff’s claims fails because she has not suffered, and has not properly alleged

that she suffered, any adverse employment action.

       9.      Plaintiff’s claims are barred to the extent that they have not been filed within the

applicable statute of limitations.

       10.     Plaintiff is estopped from asserting her claims against Defendant because, by her

acts and by her inaction, she clearly caused Defendant to believe that all of her sexual encounters

with him were welcome and consensual, and she therefore caused Defendant to rely upon her




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acts and inaction to his detriment.

       11.     Plaintiff’s claims are barred by waiver. Here, by her acts and inaction, Plaintiff

clearly indicated to Defendant and caused him to believe that all of her sexual encounters with

him were welcome and consensual, and she knowingly and voluntarily relinquished her rights to

assert that they were otherwise.

       12.     Plaintiff’s claims are barred to the extent they were not raised in a timely filed

administrative Charge.

       13.     Plaintiff’s claims are barred to the extent that she has failed to mitigate her alleged

damages.

       14.     Plaintiff’s claims for emotional distress damages are barred to the extent that they

arise out of issues, incidents, and occurrences other than the alleged conduct of the Defendants.


       WHEREFORE, Defendant Eddie Johnson, by and through his attorneys, respectfully

request that the Court deny Plaintiff’s request for relief against Defendant Eddie Johnson; enter

judgment in his favor and against the Plaintiff; and award him his attorneys’ fees and costs for

defending Plaintiff’s intentionally false allegations.


January 15, 2020                              RESPECTFULLY SUBMITTED,

                                              By:        s/Michael I. Leonard
                                                         Counsel for Defendant Eddie Johnson

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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the above and

foregoing document was e-filed with this Court using its ECF system, and thus served on all

counsel of record on January 15, 2021:


                                    By:    s/Michael I. Leonard
                                           Counsel for Defendant Johnson




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